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                                         UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF VIRGINIA
                                       HARRISONBURG (STAUNTON) DIVISION
                   IN RE:
                   ALAN L. HICKS AND                               CASE NO. 18-50333
                   ELISHA N. HICKS                                 Chapter 7
                   Debtors

                   NATIONSTAR MORTGAGE LLC
                   D/B/A MR. COOPER OR
                   PRESENT NOTEHOLDER
                   Movant
                   v.
                   ALAN L. HICKS AND
                   ELISHA N. HICKS
                   and
                   GEORGE I. VOGEL, TRUSTEE
                   Respondents

                                         RESPONSE TO MOTION FOR RELIEF


                        George I. Vogel, II, Trustee in the above referenced cause
                   respectfully responds to the Motion for Relief filed in the above
                   referenced matter and states as follows:
                        1.   That he admits the allegations contained in paragraphs
                             1, 2, 3 and 10 of the Motion for Relief.
                        2.   That he is without sufficient information to admit the
                             allegations contained in paragraphs 4, 5, 6, 7, 8, 9 and
                             11 of the Motion for Relief and therefore denies same.
                        3.   That the Trustee denies the allegations contained in
  Vogel &                    paragraph 12 of the Motion for Relief.
Cromwell, L.L.C.
                        4.   That the Trustee has not held the meeting of creditors
 Roanoke VA                  which is scheduled for May 15, 2018 and has not
                             determined if there is any equity in the real estate
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                              that is the subject matter of the Motion for Relief for
                              the benefit of the general creditors.

                        WHEREFORE, the undersigned respectfully prays that the Motion
                   for Relief be denied and that the undersigned have such further
                   relief as the nature of this cause may require.


                                                             Respectfully,

                                                             /S/ GEORGE I. VOGEL, II
                                                             George I. Vogel, II, Trustee
                   George I. Vogel, II, Trustee
                   Vogel & Cromwell, L.L.C.
                   P.O. Box 18188
                   Roanoke, VA 24014
                   540-982-1220
                   gvogel @vogelandcromwell.com

                                            CERTIFICATE OF SERVICE
                        I hereby certify that I have this 11th day of May, 2018
                   electronically filed the original of the foregoing with the United
                   States Bankruptcy Court for the Western District of Virginia,
                   (Harrisonburg (Staunton) Division), which caused electronic
                   notifications of the filing to be served on the Movant and counsel
                   for the Debtors.

                                                             /S/ GEORGE I. VOGEL, II
                                                             George I. Vogel, II, Trustee




  Vogel &
Cromwell, L.L.C.

 Roanoke VA
